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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,



                   -against-                                  1:20-cr-0 161

                                                                ORDER

Izhaki,

                          Defendants.


MARY KAY VYSKOCIL, United States District Judge:

      The time for the conference scheduled on March 23, 2020 is moved from

      3:30 p.m. to 3 p.m. in Courtroom l 8C.




SO ORDERED.

Dated: New York, New York
       March 13, 2020




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